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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

RUTHIE WALLS; COLTON GILBERT; JENNIFER
REYNOLDS, as Next Friend of SADIE
ANNABELLA      REYNOLDS;       CHANDRA
WILLIAMS DAVIS, as Next Friend of GISELE
DAVIS; and ARKANSAS STATE CONFERENCE                            Case No.: 4:24-cv-00270-LPR
OF THE NAACP,

                      Plaintiffs,                               Oral Argument Requested

v.                                                              Expedited Relief Requested

HON. SARAH HUCKABEE SANDERS, in her
official capacity as Governor of the State of Arkansas;
and JACOB OLIVA, in his official capacity as
Secretary of the Arkansas Department of Education,
Arkansas State Board Members in their official
capacity:       SARAH         MOORE,           KATHY
MCFETRIDGE-ROLLINS, ADRIENNE WOODS,
RANDY HENDERSON, LISA HUNTER, JEFF
WOOD, KEN BRAGG, and LEIGH S. KEENER,

                      Defendants.



                    MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR PRELIMINARY INJUNCTION
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   I.      PRELIMINARY STATEMENT

        “Every day I walk into the classroom I think to myself: Could today’s conversation be the

one that gets me fired?” Dec. of Colton Gilbert (“Gilbert Dec.”) ¶ 34. As expressed by Plaintiff

Mr. Colton Gilbert, an eleventh-year debate teacher at Central High School, that is the tenor of

Arkansas’ public education system that has been cast by Defendants Gov. Sarah Huckabee

Sanders, Secretary of Education Jacob Oliva, and the Arkansas State Board of Education

following the enactment of Section 16 of the LEARNS Act, known as the “Indoctrination”

provision and codified at Ark. Code Ann. § 6-16-156 (“Section 16”).

        Vague and ambiguous in its terms and couched in a history of purely partisan and

political censorship motivated by racial animus, Section 16 unconstitutionally restricts the due

process and First Amendment rights of teachers to have adequate notice of how to comply with

Section 16 and the First Amendment rights of students to receive information and ideas. On its

face and as applied by Defendants Gov. Sanders, Secretary Oliva, and the Arkansas Board of

Education, Section 16 is unconstitutional and Plaintiffs respectfully ask this Court to issue a

preliminary injunction to protect and restore the rights of students and teachers.

        Schools play a critical role in preparing children and adults to fully participate in a

diverse, pluralistic, and democratic society. As the Supreme Court has held concerning the First

Amendment, the Nation’s future depends upon leaders trained through wide exposure to that

robust exchange of ideas which discovers truth “out of a multitude of tongues, (rather) than

through any kind of authoritative selection.” Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393

U.S. 503, 512 (1969) (quoting Keyishian v. Board of Regents, 385 U.S. 589, 603 (1967)

(alteration in original)). Therefore, it is imperative that “[t]teachers and students must always

remain free to inquire, to study and evaluate, to gain new maturity and understanding; otherwise,


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our civilization will stagnate and die.” Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957).

Consequently, a state does not have unchecked power to “impose upon the teachers in its schools

any conditions that it chooses” and cannot prohibit teaching a “theory or doctrine where that

prohibition is based upon reasons that violate the First Amendment.” Epperson v. State of

Arkansas, 393 U.S. 97, 107 (1968). Restrictions like Section 16 are unconstitutionally vague if

they either “fail[] to provide people of ordinary intelligence a reasonable opportunity to

understand what conduct it prohibits” or “authorize[] or even encourage[] arbitrary and

discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732 (2002); see also United States

v. Cook, 782 F.3d 983, 987 (8th Cir. 2015).

        Section 16, however, does exactly what the Supreme Court forbids. Section 16 is wrought

with undefined, vague, and ambiguous terms that are difficult for anyone to navigate, much less

teachers like Plaintiffs Walls and Gilbert and teacher members of the Arkansas State Conference

of the NAACP (“NAACP-AR”), who must make this impossible decision, lest they face the

consequences. The law, for example, does not define some of the key elements in the provision,

such as “indoctrination” and “Critical Race Theory,” the latter a term that Defendant Secretary of

Education Oliva admitted is difficult to define: “in coming up with a simple definition for critical

race theory it’s actually really challenging and it is something that is debated amongst even the

scholars that have wrote different theories.” 1 Given the statutory language’s reliance on broad

conceptual terms without definition, Section 16 places teachers in the impossible situation of

trying to ensure that they remain on the right side of a very fuzzy line.

        Section 16 also unconstitutionally restricts students’ access to information about the

history of race relations in this country, based on “narrow[] partisan and political” interests and


1
 Ar. S.B. 294, S. Educ. Committee (February 22, 2023, 9:21:34 AM) (Sec. Oliva),
https://senate.arkansas.gov/todays-live-stream-meetings/archived-meetings/.

                                                      2
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“racial animus,” Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853,

870 (1982), that are not “reasonably related to legitimate pedagogical concerns,” Hazelwood Sch.

Dist. v. Kuhlmeier, 484 U.S. 260, 273 (1988). Defendant Sanders publicly denigrated the College

Board’s AP African American Studies (“AP AAS”) course as “leftist propaganda,” and Secretary

Oliva ordered the removal of its “advanced placement” status from the state-approved list,

denying students the benefits of the AP course just three days before school because he,

subjectively, felt that a couple of topics that he disagreed with may violate Section 16.

        Defendants’ enforcement of Section 16’s vague provisions have caused unlawful

censorship on a daily basis in schools across Arkansas as teachers are attempting to teach

Arkansas’ academic standards. For example, Plaintiff Ms. Ruthie Walls has stopped having in-

depth conversations that connect past historical events with current issues because she fears such

may be interpreted as violating Section 16. Ms. Walls lives in constant fear of an official from

the Arkansas Department of Education (“ADE”) visiting her classroom and attempting to revoke

her license for using materials she did not know were prohibited by the provision. Similarly,

prior to the enactment of Section 16, Mr. Gilbert used a variety of sources in his Debate class,

including an introduction to Critical Race Theory (“CRT”), as a way to help students think

critically by exploring and debating potential root causes about past- and present-day inequities.

He did not use these materials for the purpose of indoctrinating students. With the passage of

Section 16, however, he no longer uses those materials out of fear of the penalties that he may

face.

        Student and Teacher Plaintiffs need the immediate protection of the courts to restore their

rights. In the respective classes of Ms. Walls and Mr. Gilbert, students—including Student

Plaintiffs—will soon begin their year-end presentations on topics that could run afoul of the law,



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including topics on the role of men in governing health care decisions for women, Black women

civil rights leaders, and the history of slave codes and its impact on racial inequality today. The

teachers and students are at a loss on whether the teachers assisting the students on these topics

and others could be construed as violating Section 16.

       Furthermore, Defendant Oliva has yet to restore the AP AAS course after canceling the

“advanced placement” designation last fall. Student Plaintiffs Gisele Davis, Sadie Belle

Reynolds, and student members of the NAACP-AR are at risk of losing graduation credits if

Oliva does not reverse his decision, and they will not have the course listed as an AP course on

their transcripts. Ms. Walls and Student Plaintiffs also need Section 16 blocked so that Ms. Walls

may fully and freely prepare her students to take the AP exam on May 14, 2024. As Plaintiff

Sadie Belle shared, “I know these exams are very challenging. It is highly unfair and unjust that I

and other students across Arkansas will take the same AP exam as students in other states but our

education in Arkansas . . . has been censored and limited compared to students in other states

that do not have a law that bans or limits the AP AAS.” Dec. of Sadie Annabelle Reynolds

(“Reynolds Dec.”) ¶ 15.

       Section 16 is inflicting these harms now, irreversibly robbing students of the free and

open exchange of ideas in school that the Constitution and Supreme Court precedent have long

protected. Section 16, on its face and as applied by Defendants, is denying Plaintiffs their First

and Fourteenth Amendment rights. For these and other reasons discussed herein, Plaintiffs ask

that this Court issue a preliminary injunction prohibiting Defendants from enforcing Section 16

during the pendency of this litigation.




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    II.      STATEMENT OF FACTS
    A. Background

          Public schools bear the promise of equal opportunity for children across race and

background to learn and grow together, and ultimately, become engaged citizens in our

multiracial democracy. The mission of the Division of Elementary and Secondary Education of

the ADE endeavors to provide support and services to schools “so every student graduates

prepared for college, career and community engagement.” 2 Among its goals, the ADE aspires

that each student will “develop and apply personal competencies that promote learning and

success in life.” 3

          However, Section 16 threatens to impair progress towards these goals. This is especially

concerning in light of Arkansas’ long, sordid history of denying equal opportunity to Black

schoolchildren.

          In the immediate wake of the Civil War, Arkansas’ confederate legislature established a

common school system for White children that specifically excluded Black children.4 After

Reconstruction, the newly assembled legislature enacted a law establishing a segregated school

system for Black students in 1868, officially beginning Arkansas’ near century-long history of

state-sanctioned segregation in education. 5 Arkansas would later require school districts to

provide Black children with facilities equivalent to those provided to White children, but as

history would prove, the separate-but-equal doctrine only reinforced the continued subjugation of



2
  Division of Elementary & Secondary Education, Vision for Excellence in Education, ARKANSAS DEPARTMENT OF
EDUCATION, available at https://dese.ade.arkansas.gov/About/vision-for-excellence-in-education (last visited April
11, 2024).
3
  Id.
4
  John William Graves, Jim Crow in Arkansas: A Reconsideration of Urban Race Relations in the Post-
Reconstruction South, 55 THE J. OF SOUTHERN HIST. 421, 422 (1989).
5
  Id. The Arkansas Constitutional Convention of 1868 did not mandate segregated schools, an omission bitterly
criticized by conservative delegates. The July 1868 statute establishing segregated schools was passed unanimously
in the state Senate and by a vote of 37 to 19 in the state House of Representatives. Id. at 423 n.6.

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Black children and families. As racial tensions continued to rise, the Supreme Court’s decision in

Brown v. Board of Education, 374 U.S. 483 (1954) mandated the integration of all public schools

to fulfill the promise of the Fourteenth Amendment’s guarantee of equal protection.

        Three months after Brown, Charleston Public School District enrolled 11 Black students,

making Arkansas’ Franklin County the first of the former Confederacy’s 11 states to end school

segregation.6 That same year, Fayetteville High School became the second desegregated school

system in the former Confederate South. Despite these early, though limited, successes, many

old guards continued to fight fervently to maintain the school segregation across the state, and in

some cases, forcing the closure of schools, such as in Hoxie, Arkansas. 7

        Parents, school boards, and government officials continued to clash as desegregation

plans were slowly implemented around the state. In 1957, Little Rock’s Central High burst into

the national consciousness when nine Black students attempting to integrate the school were met

by a violent white mob that included the Arkansas National Guard blocking their entrance, at the

behest of then-Governor Orval Faubus. 8 President Dwight Eisenhower was forced to deploy the

National Guard to protect the children.9 Even with the protection of federal troops, however, the

students continued to face threats and jeers from their classmates on a daily basis throughout the

year. 10 The next year, Little Rock voters voted 19,470 to 7,561 in favor of shutting down the

city’s four public high schools for the academic year rather than accepting racial integration.11



6
  Jack Schnedler, Central High: A Look Back, ARKANSAS ONLINE
https://showtime.arkansasonline.com/e/media/central/timeline.html (last visited April 11, 2024).
7
  Id.
8
  White Little Rock Voters Choose to Close Public Schools Rather Than Integrate, EQUAL JUSTICE INITIATIVE,
available at https://calendar.eji.org/racial-injustice/sep/27 (last visited April 11, 2024).
9
  Id.
10
   The Little Rock Nine, NATIONAL MUSEUM OF AFRICAN AMERICAN HISTORY & CULTURE, available at
https://nmaahc.si.edu/explore/stories/little-rock-nine (last visited April 11, 2024).
11




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The schools would remain closed for the entire academic school year in what became known as

“the lost year.” 12 Little Rock public high schools would finally reopen in 1959, and slowly begin

the long and arduous process of providing a quality, equitable education for all Arkansas

students.

           Section 16 has already impeded and silenced critical discussions related to this past

history and exploration of any present-day effects. This has demonstrable effects on learning and

progress. As President Barry Jefferson of NAACP-AR stated, “By cutting off access to such

critical conversations and denigrating African American studies, students cannot understand how

far we have come as a Nation in ensuring equal justice under law, or appreciate how much

further we must go to make that goal a reality. Prohibiting Arkansas students from discussing

systemic racism and other similar topics bears disturbing resemblance to the slavery and Jim

Crow-era tactics of depriving Black people and other communities of color equal access to

education as a method of racial subjugation and preserving the status quo’s racial inequities.”

Dec. of Barry Jefferson on behalf of NAACP-AR (“Jefferson Dec.”) ¶ 19.

           Students also recognize that it is critically important for them to learn about and

understand this history. Plaintiff Sadie Belle Reynolds, a freshman at Central High School,

believes that it is “important to learn more about history, including the negative parts, so we

don’t repeat it. I recognize that our country and some of our leaders and citizens have made

mistakes in the past. We should be able to recognize this fact. But by knowing about our

previous mistakes and injustices that were carried out, we learn from them so that we do not

repeat them.” Reynolds Dec. ¶ 11. Similarly, Gisele Davis, a senior at Central High School,



White Little Rock Voters Choose to Close Public Schools Rather Than Integrate, EQUAL JUSTICE INITIATIVE,
available at https://calendar.eji.org/racial-injustice/sep/27 (last visited April 11, 2024).
12
     Id.

                                                       7
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believes it is “important to study history, especially the history of race and systemic racism in

American, because everybody should, at some point get to learn about their culture, and other

cultures as well. Students should seek to get a better understanding of why people have done

what they’ve done to make change. It is important to learn about historical racism in America

because if people learned what has happened in our past, we wouldn’t see nearly as many

wrongs in our society as we see today.” Dec. of Gisele Davis (“Davis Dec.”) ¶ 11.

        Similarly, teachers know that their students need to be taught this history to be prepared

to be successful in the world as adults. Ms. Walls, who has been a teacher for over 23 years and

currently teaches African American History and AP African American Studies at Central High

School, wants her students to be able to “leave my classroom with a clear and accurate

understanding of history. I want them to think critically and move beyond rote thinking.

Especially in this age of artificial intelligence and rampant misinformation, it is vital that

students be able to take in information, research it for themselves to see the whole picture, and

come to their own conclusions. I want to empower them to be informed, productive members of

society.” Declaration of Ruthie Walls (“Walls Dec.”) ¶ 8. Likewise, Mr. Gilbert, who has been

teaching for 11 years and currently teaches debate and oral communication at Central High

School, wants his students to “be able to think critically and question the world around them so

that they can understand it, and their place in it, better. I want students to be able to listen to

people who do not look like them, speak articulately, and deliver a point respectfully. I hope to

give my students the tools to be able to communicate with empathy, especially with people who

do not look or think like them. This is critical for their success in my class, in high school

generally, and as they graduate into a diverse world.” Gilbert Dec. ¶ 5.




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         NAACP-AR teacher members have censored their instruction and materials as a result of

Section 16’s vague provisions and Defendants’ draconian enforcement. For example, a Black

high school English teacher no longer asks her freshmen students to read The Color Purple and

does not use other supplementary materials needed to teach the academic standards like online

videos of Roland Martin, which have been successful in the past. Jefferson Dec. ¶ 12.

         Section 16 and Defendants’ implementation and enforcement of the Act stand in the way

ensuring equal opportunity for all students and realizing the very mission set by the ADE in

“preparing students for college, career and community engagement.”

     B. Text of Section 16 of the LEARNS Act

         As part of a nationwide effort to ban inclusive education,13 a partisan majority of

Arkansas legislators have now overridden the pedagogical judgments of teachers and education

officials to stifle the exchange of ideas with which they disagree. Neither Ms. Walls, a teacher

with twenty-three years of experience, nor Mr. Gilbert, a teacher with eleven years of experience,

have ever experienced such onerous, vague restrictions imposed on school on not just “what is

taught, but how it should be taught.” Walls Dec. ¶ 42; Gilbert Dec. ¶ 16.

         Section 16 builds upon an executive order that Governor Sanders signed on her first day

as Governor. That order, titled “Executive Order to Prohibit Indoctrination and Critical Race

Theory in Schools,” specifically attacks Critical Race Theory as “antithetical to the traditional

American values of neutrality, equity, and fairness…resurrecting segregationist values.” 14 Dec.


13
   Laws, policies, and resolution have been introduced in more than half the states. See Progress and level of anti-
CRT measures, CRTForward, available at https://crtforward.law.ucla.edu/map/ (last visited on April 8, 2024).
Many of these laws have been challenged and enjoined in First Amendment theories. See, .e.g., Honeyfund.com Inc.
v. Governor, No. 22-13135, 2024 WL 909379 (11th Cir. Mar. 4, 2024); Pernell v. Fla. Bd. of Governors of State
Univ. Sys., 641 F. Supp. 3d 1218 (N.D. Fla. 2022).
14
   “Prohibited indoctrination” is defined in EO 23-05 as “[n]o communication by a public-school employee, public
school representative, or guest speaker shall compel a person to adopt, affirm or profess an idea in violation of Title


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of Sarah Baum (“Baum Dec.”), Ex. 1. This move is related to the growing political attention

targeting CRT (though the term is often undefined and misunderstood) and broader discussions

of race in America following President Trump’s own Executive Order in 2020 (“EO 13950”),

which banned diversity, equity, and inclusion trainings for government employees and limited

discussions of banned concepts like systemic racism and sexism. 15 A federal court eventually

and partially enjoined EO 13950 as violating the rights of contractors to train their own

employees on vagueness grounds. Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp.

3d 521, 543 (N.D. Cal. 2020). Legislation in other states relying on the language in EO 13950 is

being challenged in several states and, in Florida, a federal district court enjoined, in part, such a

law on First Amendment grounds. 16

         S.B. 294, known as the LEARNS Act, was introduced in the Arkansas Senate on

February 20, 2023. 17 Though the bill was 144 pages and covered a multitude of educational

issues, including teacher salaries, private school vouchers, and achievement standards,

Republican members of the Arkansas Senate Committee for Education scheduled a vote on the

bill just two days after its introduction.18 At that hearing, Secretary of Education Oliva, in

response to a question asking him to define Critical Race Theory, stated that



IV and Title VI of the Civil Rights Act of 1964 (P.L. 88-352, 78 Stat. 241), including that: People of one color,
creed, race, ethnicity, sex, age, marital status, familial status, disability, religion, national origin, or any other
characteristic protected by federal or state law are inherently superior or inferior to people of another color, creed,
race, ethnicity, sex, age, marital status, familial status, disability, religion, national origin, or any other characteristic
protected by federal or state law; An individual should be discriminated against or receive adverse treatment solely
or partly because of the individual’s color, creed, race, ethnicity, sex, age, marital status, familial status, disability,
religion, national origin, or any other characteristic protected by federal or state law.”
15
   Exec. Order No. 13950, Combatting Race and Sex Stereotyping, Federal Register, 85 Fed. Reg. 60683 (Sep. 22,
2020) https://www.federalregister.gov/documents/2020/09/28/2020-21534/combating-race-and-sex-stereotyping.
 President Biden later revoked EO 13950 as part of a new Executive Order titled “Advancing Racial Equity and
Support for Underserved Communities,” EO 13985. U.S. Dep’t of Labor, Revocation of Executive Order 13950,
https://www.dol.gov/agencies/ofccp/executive-order-13950.
16
   See supra n. 13; A state district court denied a motion to dismiss in a lawsuit challenging a similar law in New
Hampshire. Loc. 8027, AFT-N.H., AFL-CIO v. Edelblut, 651 F. Supp. 3d 444 (D.N.H. 2023).
17
   Ar. S. Journal, 94th General Assembly, Reg. Sess. 1129 (2023).
18
   Id. at 1232.

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        in coming up with a simple definition for critical race theory it’s actually
        really challenging and it is something that is debated amongst even the
        scholars that have wrote different theories because it is just that, it is just a
        theory. I’ve been told examples of trying to put everybody into a room with
        history scholars and say define socialism. Everybody has a little bit different
        answer of what that looks like in practice and how you come up with that
        definition. 19

        The LEARNS Act was approved by the Education Committee on February 22, 2023, and

proceed to a full vote in the Senate on February 23, 2023 where it passed 25-7 along partisan

lines. 20 The bill moved on to pass the House Education Committee on March 1, 2023, before

proceeding to a full House vote on March 2, 2023, where it passed 78-21, again along partisan

lines. 21 At a second Senate Education Committee hearing on amendments to the Act passed by

the Arkansas House of Representatives, high school students attempted to testify against the law

but were denied due to procedural objections raised by Republican sponsors of the bill. 22 The

Act, as amended, was passed by the Senate Education Committee, and the full Senate then voted

again on party lines and passed the Act. 23 Arkansas Governor Huckabee Sanders signed the

LEARNS Act into law on March 8, 2023, less than three weeks after it had been introduced. 24

On the day Defendant Governor Sarah Huckabee Sanders signed the LEARNS Act, she tweeted,

“When I sign my education plan into law today, CRT and all forms of racism and leftist

indoctrination in our schools will be outlawed.” 25 The law passed with an emergency clause,




19
   Ar. S.B. 294, S. Educ. Committee (February 22, 2023, 9:21:34 AM) (Sec. Oliva),
https://senate.arkansas.gov/todays-live-stream-meetings/archived-meetings/.
20
   Ar. S. Journal, 94th General Assembly, Reg. Sess. 1232, 1269–70 (2023).
21
   Ar, H. Journal, 94th General Assembly, Reg. Sess. 1358, 1421 (2023).
22
   Ar. S.B. 294, S. Educ. Committee (March 6, 2023, 4:08:47 PM) (Se. English), https://sg001-
harmony.sliq.net/00284/Harmony/en/PowerBrowser/PowerBrowserV2/20230309/-1/27663#info_.
23
   Ar. S. Journal, 94th General Assembly, Reg. Sess. 1739 (2023)
24
   Ar. S. Journal, 94th General Assembly, Reg. Sess. 1988 (2023).
25
   Sarah Huckabee Sanders (@SarahHuckabee), TWITTER (Mar. 8, 2023),
https://twitter.com/SarahHuckabee/status/1633525249978368001?.

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which allowed the bill to become effective immediately upon the governor’s signature. 26As

relevant here, Section 16 of the LEARNS Act purportedly focuses on “prohibited indoctrination”

in public schools. Baum Dec., Ex. 2.

        In line with Governor Sanders’ executive order, Section 16 likewise seeks to prohibit the

teaching of Critical Race Theory in schools, as part of a larger prohibition on “rules, policies,

materials, and communication . . . that may, purposely or otherwise, promote teaching that would

indoctrinate students with ideologies, such as Critical Race Theory, otherwise known as ‘CRT’,

that conflict with the principle of equal protection under the law or encourage students to

discriminate against someone based on an individual’s color, creed, race, ethnicity, sex, age,

marital status, familial status, disability, religion, national origin, or any other characteristic

protected by federal or state law” and allows the Secretary of Education to “amend, annul, or

alter the rules, policies, materials, or communications that are considered prohibited

indoctrination and that conflict with the principle of equal protection under the law.” Ark. Code

Ann. § 6-16-156(a). The section then goes on to define “prohibited indoctrination” as

        communication by a public school employee, public school representative,
        or guest speaker that compels a person to adopt, affirm, or profess an idea
        in violation of Title IV and Title VI of the Civil Rights Act of 1964, Pub. L.
        No. 88-352, including that:
                          (1) People of one color, creed, race, ethnicity, sex, age,
                          marital status, familial status, disability status, religion,
                          national origin, or any other characteristic protected by

26
  Ar. S. Journal, 94th General Assembly, Reg. Sess. 1232, 1270–71 (2023); Ar, H. Journal, 94th General Assembly,
Reg. Sess. 1422 (2023). On May 8, 2023, Citizens for Arkansas Public Education and Students (CAPES), as well as
residents and school advocates in Philips County, filed suit to challenge enforcement of the LEARNS Act in hopes
of preventing a charter school from taking over the Marvell-Elaine School District. They argued that the procedural
process of the bill failed to meet the state’s constitutional requirement that votes on emergency clauses be taken
separately from the bill itself. In response, a Pulaski County Circuit judge temporarily enjoined the implementation
of the LEARNS Act on May 26, 2023. The Arkansas Supreme Court later vacated the temporary restraining order,
but did not rule on the merits of the case. On June 30, 2023, Judge Wright ruled that the emergency clause of the
LEARNS Act was not properly voted on and blocked the implementation of the Act until the default date for all
legislation of this session, August 1, 2023. State Attorney General Tim Griffin appealed to the Arkansas Supreme
Court, which overturned Judge Wright’s ruling on October 12, 2023, ruling that the legislators’ votes on the
emergency clause complied with state law.

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                       federal or state law are inherently superior or inferior to
                       people of another color, creed, race, ethnicity, sex, age,
                       marital status, familial status, disability status, religion,
                       national origin, or any other characteristic protected by
                       federal or state law; or
                       (2) An individual should be discriminated against or receive
                       adverse treatment solely or partly because of the individual's
                       color, creed, race, ethnicity, sex, age, marital status, familial
                       status, disability status, religion, national origin, or any other
                       characteristic protected by federal or state law.

Id. § 6-16-156(b). Finally, Section 16 includes a savings clause, which states that it does not

“prohibit the discussion of: (1) Ideas and the history of the concepts described in subsection (b)

of this section; or (2) Public policy issues of the day and related ideas that individuals may find

unwelcome, disagreeable, or offensive.” Id. § 6-16-156(c). Other than the aforementioned

definition of “prohibited indoctrination,” Section 16 does not define any terms.

   C. Implementation of the Act

       The LEARNS Act officially took effect on August 1, 2023. Despite its vague,

ambiguous, and contradictory terms, to date Defendants including Defendant Board Members

have not provided any guidance. But that did not stop them from enforcing Section 16 just 10

days after the law became effective.

       On August 11, 2023, less than three days before the start of the 2023-2024 school year,

ADE revoked state approval of the AP African-American Studies Courts (“AP AAS”). AP AAS

is a new AP course designed by the College Board to provide a holistic introduction to the

history, literature, and arts of Black Communities in the United States by reviewing the origins in

the African continent to resistance to slavery to movements equal rights. Baum Dec., Ex. 3. The

College Board has also stated that it hoped the course would encourage more Black students to

take AP course. Id. Secretary of Education Oliva provided numerous explanations for this

decision, but eventually admitted that it did so because the course likely violated Section 16’s

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prohibited indoctrination provision, putting teachers at risk of violating state law. 27 ADE also

sent out a letter to school districts noting its concern that AP AAS could violate Section 16 and

requiring schools to sign statements of assurances that the LEARNS Act would not be violated.

Baum Dec., Ex. 4; Ex. 5 (Statement of Assurance). In response to ADE’s announcement, six

schools stated that they would continue to offer the course as an elective. These were The

Academies at Jonesboro High School, Little Rock Central High School, North Little Rock High

School, Jacksonville High School, North Little Rock Center for Excellence, and eStem High

School. In addition to its curtailment of AP AAS, ADE has also purged state-provided resources,

including information on civil rights from the NEA, the Martin Luther King, Jr. Research and

Education Institute, and Selma online with no explanation for the removal.28

         Furthermore, though ADE has not implemented any regulations pertaining to Section 16,

its website states that it has “enhanced processes and policies that prevent prohibited

indoctrination, including Critical Race Theory, as it relates to employees, contractors, and guest

speakers or lecturers of the department” and requires school districts and open-enrollment charter

schools to “complete and submit an assurance document annually ensuring that no public school

employee or public school student shall be required to attend trainings or orientations based on

prohibited indoctrination or Critical Race Theory.”29 The website also notes that “if rules,


27
   Austin Gelder, Arkansas education chief pushes easily debunked excuse for rejecting AP African American
studies, ARKANSAS TIMES (Aug. 15, 2023), https://arktimes.com/arkansas-blog/2023/08/15/arkansas-education-
chief-pushes-easily-debunked-excuses-for-rejecting-ap-african-american-studies-program-on-track-in-39-other-
states. Curiously, during the 2022-23 school year following the passage of the LEARNS Act, Secretary Oliva had
attended an APAAS class of Ms. Ruthie Walls’ (Plaintiff teacher) at Central HS. According to Ms. Walls, her
principal had conveyed to her that Secretary Oliva was “very complimentary” of her instruction and shared with the
principal that Ms. Walls “is not teaching African American Studies. Walls Dec. ¶ 34. Oliva made no mention that
the course violated Section 16. Id
28
   Josh Snyder, Arkansas Education Department Changes, Removes Social Studies Resources After Sanders’
Executive Orders, ARKANSAS DEMOCRAT GAZETTE (March 17, 2024),
https://www.arkansasonline.com/news/2024/mar/17/arkansas-education-department-changes-removes/.
29
   LEARNS Act 237 of 2023, Arkansas Department of Education, Division of Elementary and Secondary Education,
available at https://dese.ade.arkansas.gov/Offices/special-projects/learns-act-237-of-2023- (last visited on April 8,


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regulations, policies, materials or communications produced or disseminated by the Arkansas

Department of Education are found to be in violation of Act 237 of 2023 § 6-16-156,” an email

with documentation should be sent directly to ADE for further investigation. 30 The LEARNS Act

also repealed the Teacher Fair Dismissal Act, which eliminated critical due process protections

for teachers like Mr. Gilbert and Ms. Walls. Gilbert Dec. ¶ 33. As a result, Mr. Gilbert worries

that he could be fired or have his contract non-renewed or be reported for an ethics violation to

the State Board. Id.; see also Baum Dec., Ex. 8 (Code of Ethics). Such a report would lead to an

investigate and potential sanction including a letter of caution in Mr. Gilbert’s file, being

suspended, or even losing his license. Id. Likewise, Ms. Walls fears that a parent, her principal,

or even the school district could report her for indoctrination directly to the Department of

Education who could then revoke her license. Walls Dec. ¶ 40.

    D. Impacts on Teaching Arkansas’ Academic Standards

         Unsurprisingly, in response to the ADE’s actions, teachers have altered their instruction,

classroom discussions, lessons plans, and materials used in class out of fear of reprisal, even if

that places student at risk of failing to learn the knowledge and skills required by Arkansas’ own

academic standards—standards developed by educators.

         Arkansas law requires the Division of Elementary and Secondary Education to “establish

academic standards that define what students shall know and be able to demonstrate in each

content area.” Ark. Code Ann. § 6-15-2906(a)(1). The law also requires that “[i]nstruction in all



2024). The website also states that “The Arkansas Department of Education has amended, annulled, or altered the
rules, policies, materials, or communications that are considered prohibited indoctrination and that conflict with the
principle of equal protection under the law. However, this is an ongoing process.” See also Baum Dec., Ex. 7
(“Indoctrination and CRT Examples in Arkansas and Gov. Sanders Administration Actions,” depicting outcomes of
a handful investigations in schools of purported violations of Gov. Sanders’ executive order with language similar to
Section 16. This included attacks on programs that merely asked teachers to explore any potential “unconscious
biases” and to “craft an equity framework.”).
30
   Id.

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public schools shall be based on the academic standards to prepare students to demonstrate the

skills and competencies for successful growth and high school graduation.” Id. at § 6-15-

2906(a)(2). To create, review, and revise these standards, Arkansas law mandates “[r]eview and

input” by “[e]ducators from elementary, secondary, and higher education” and “[c]ommunity

members with professional experience related to the academic content area.” Id. at § 6-15-

2906(c)(1).

       Typically, experienced educators in the field work with the Arkansas Department of

Education to develop the academic standards for state-approved courses. Ms. Walls and Mr.

Gilbert have both worked on committees to develop academic standards in their respective fields,

African American History and Debate and Oral Communication Skills. Walls Dec. ¶ 35; Gilbert

Dec. ¶ 20.

       In furtherance of this work, the ADE has set standards for African American History.

Baum Dec., Ex. 6. These standards require students to not only learn about specific historical

events and movements, but to do so by “gather[ing] relevant information from multiple

perspectives and a variety of sources” and “critique the credibility, relevant, and use of evidence

in arguments and explanations proposed by [them] and others.” Id. Arkansas teachers like Ms.

Walls, who teaches the AP African American Studies course, are dedicated to the task of turning

their students into these critical thinkers and have used a variety of sources to accomplish this.

For example, prior to the enactment of Section 16, Ms. Walls used to engage in deeper

discussions with her students around select topics like the effect of Brown v. Board of Education

and desegregation efforts on Black teachers or the similarities between Jim Crow-era laws and

laws being passed today. Walls Dec. ¶ 15. With the passage of Section 16, however, she now

self-censors herself out of fear of the penalties that she may face. Id. She has also removed



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certain books, like The New Jim Crow: Mass Incarceration in the Age of Colorblindness by

Michelle Alexander. Walls Dec. ¶ 14. Ms. Walls would like to use the New York Times’s “The

1619 Project” materials to help students achieve the academic standards. She keeps her copy of

these materials at home for the fears of being sanctioned by Defendants for violating Section 16.

Id.

        Ms. Walls also has censored her comments during classroom discussion on various topics

out of fear that connecting past events to present issues violates Section 16, even though she

worries that this could harm the ability of her students to succeed on the AP exam. Id. ¶¶ 38-39.

And though she has not removed any specific materials from her curriculum, she remains

anxious that a representative from the ADE could visit her classroom and see her using materials

that they believe violate Section 16 or that parent might file a complaint with the ADE about the

materials she is using, either of which could lead to a disciplinary proceeding resulting in a

sanction, suspension, or revocation of her teaching license. Id. ¶¶ 40-41. The stress over teaching

AP AAS in this environment has already sent Ms. Walls to the hospital once, and she continues

to deal with the anxiety and stress on a daily basis. Id. ¶ 32.

        For debate classes like Mr. Gilbert’s, among other academic standards, Debate I

standards require him to ensure that students will learn how to “utilize research skills and collect

well-sourced evidence; analyze and rebut opposing arguments, participate in debates inside and

outside the classroom, synthesize socioeconomic, ethical, and/or philosophical reasoning that

influences current issues; and develop individual and group perspectives on the importance of

debate to both local and global communities.” 31 Prior to the enactment of Section 16, Mr. Gilbert

used in his classes several resources including an introductory chapter on CRT to help students


31
   Arkansas Department of Education, Arkansas English Language Arts Standards: Debate I, 2016,
https://dese.ade.arkansas.gov/Files/20201209113238_Debate_I_2016.pdf (last accessed: April 12, 2024).

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explore and debate potential reasons for past and present inequalities and to further develop their

skills around research and examining individual and group debates. Gilbert Dec. ¶ 12. He never

used these materials to try and indoctrinate students. Id.

        Mr. Gilbert also teaches Oral Communication Skills class, where the standards include

ensuring students demonstrate effective intrapersonal communication, professional interaction

with others, and communication in a variety of communication situations.32 Because he fears

being reported for violating Section 16, he cut a chapter of gender and sexuality, where students

would “deepen the understanding of the complexities of human sexuality so that they may

become effective communicators while speaking, listening, and responding in the situations they

encounter daily.” Gilbert Dec. ¶ 13. In addition, he previously used excerpts of the book,

“Warriors Don’t Cry: A Searing Memoir of the Battle to Integrate Little Rock’s Central High,”

to help students understand the racial and social implications of the Little Rock Nine’s

desegregation of Central High and build their academic skills. Id. ¶ 14. However, he ceased

using the book, because he fears White students may feel uncomfortable and report him. Id.

        Mr. Gilbert’s students in his Debate 1 classes, which include student members of the

NAACP-AR Jefferson Dec. ¶ 11, are scheduled to present and defend proposed legislative bills

in May 2024 as part of this “Student Congress” assignment. Gilbert Dec. ¶ 31. Students choose

the topics and will write and present through a viewpoint of a “Whig” or “Loyalist.” Id. Topics

vary and include arguments related to women’s healthcare that may include the role of male

legislators making decisions for women or the lack of heath care access for women of color; gun

control, which may include arguments related to higher rates of gun violence facing people of



32
  Arkansas Department of Education, Arkansas English Language Arts Standards: Professional Communication,
2019, https://dese.ade.arkansas.gov/Files/20201209124502_Professional-Communication.pdf (last accessed: April
12, 2024).

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color, or in the context of schools, whether the presence of guns in schools may further increase

threats to the safety of Black students who already face disparate school discipline rates

compared to their White peers. Id. Mr. Gilbert asks, “Am I allowed to discuss these issues with

students, or will I be seen as trying to indoctrinate students? Conversely, if I silence students by

not allowing them to present on these topics, is that also a form of indoctrination?” Id. ¶ 31.

          This is the quandary teachers are placed in everyday because of Section 16 and

Defendants’ enforcement of the Act. Neither Mr. Gilbert nor Ms. Walls, in their combined thirty-

four years of experience have ever witnessed or experiences such draconian efforts by the State

to chill and censor their teaching and not just what is taught, but how it may be taught.


   III.      ARGUMENT

          In deciding a preliminary injunction motion, the Court’s analysis depends on a

          “flexible” consideration of (1) the threat of irreparable harm to the moving
          party; (2) balancing this harm with any injury an injunction would inflict on
          other interested parties; (3) the probability that the moving party would
          succeed on the merits; and (4) the effect on the public interest.

Minn. Citizens Concerned for Life, Inc. v. Swanson, 692 F.3d 864, 870 (8th Cir. 2012); see also

Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981) (en banc). The balance-

of-harms and public-interest factors “merge when the Government is the opposing party.” Nken

v. Holder, 556 U.S. 418, 435 (2009). “In a First Amendment case the likelihood of success on

the merits is often the determining factor in whether a preliminary injunction should issue.”

Phelps-Roper v. Nixon, 509 F.3d 480, 485 (8th Cir. 2007), modified on reh’g, 545 F.3d 685 (8th

Cir. 2008). Therefore, “[w]hen a plaintiff has shown a likely violation of his or her First

Amendment rights, the other requirements for obtaining a preliminary injunction are generally




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deemed to have been satisfied.” Phelps–Roper v. Troutman, 662 F.3d 485, 488 (8th Cir. 2011)

(per curiam).

   A. Plaintiffs Are Likely to Succeed on The Merits of Their Claims
           1. Section 16’s prohibitions are too vague to comply with for Arkansas
              educators and encourage arbitrary enforcement in violation of the First and
              Fourteenth Amendments.

       The vague directives of Section 16 of the LEARNS Act force ordinary persons to guess

their meanings—with substantial consequences if they guess wrong. A law is “void for

vagueness if its prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104,

108 (1972); see also Musser v. Mapes, 718 F.3d 996, 1000 (8th Cir. 2013). And while vagueness

descends from the Fifth and Fourteenth Amendments, a vague law also “raises special First

Amendment concerns because of its obvious chilling effect on free speech.” Reno v. ACLU, 521

U.S. 844, 871–72 (1997); see also Stephenson v. Davenport Cmty. Sch. Dist., 110 F.3d 1303,

1308–09 (8th Cir. 1997) (holding that when a “regulation ‘is capable of reaching expression

sheltered by the First Amendment, the doctrine demands a greater degree of specificity than in

other contexts.’”) (quoting Smith v. Goguen, 415 U.S. 566, 573 (1974)). Although generally

“a lesser standard of scrutiny is appropriate because of the public school setting, a

proportionately greater level of scrutiny is required because the regulation reaches the exercise of

free speech.” Stephenson, 110 F.3d at 1308–09. In practice, this means that a law is

impermissibly vague if it either “fails to provide people of ordinary intelligence a reasonable

opportunity to understand what conduct it prohibits” or “authorizes or even encourages arbitrary

and discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732 (2002); see also United

States v. Cook, 782 F.3d 983, 987 (8th Cir. 2015). Here, the Act does both.




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        First, the statute fails to define several operative terms within its text, rendering the terms

so vague that they fail to provide adequate notice of the conduct or material that is prohibited by

the law. For example, Section 16 does not define “Critical Race Theory” (CRT), much less any

other “ideologies” that purportedly “conflict[s] with the principle of equal protection under the

law or encourage[s] students to discriminate against someone based on the individual’s color. . .

race. . . or any other characteristic protected by federal or state law.” Ark. Code Ann. § 6-16-

156(a). CRT is the only ideology the ADE names as inherently conflicting with this principle,

but without explanation, this example is unhelpful, if not confusing. What are the “other

ideologies?” Would this include the State’s preferred 1776 Unites curriculum, which could be

interpreted as undermining discrimination and equal protection by white-washing history. 33

        Section 16 broadly prohibits materials and communications, inter alia, “that may,

purposely or otherwise, promote teaching that would indoctrinate students with ideologies, such

as Critical Race Theory, otherwise known as ‘CRT’ . . . .” Ark. Code Ann. § 6-16-156(a)(2), but,

again, it fails to define CRT. Section 16 does not clarify if CRT includes the history of CRT as

an analytical framework, or only confirmed or asserted tenets of CRT by its originators, or

related ideas and theories, such could encompass unconscious bias and systemic racism, or

factual observations, such as mass incarceration.

        If CRT is undefined by the law, it is impossible for educators to understand what ideas,

especially those related to racism and history, do and do not fall within the State’s understanding

of CRT or any other ideology that it purports may violate Title IV or Title VI. For instance, the



33
  Michael Wenger, The Dangers of Teaching Whitewashed American History, AMERICAN ASSOCIATION OF
COLLEGES AND UNIVERSITIES (Jan. 2021), https://www.aacu.org/liberaleducation/articles/the-dangers-of-teaching-
whitewashed-american-history. Of course, CRT, at the very least and unlike the 1776 Unites curriculum, is well-
researched and has been developed over a course of 30 years through rigorous peer review. See generally Jeremiah
Young et. al., Talking Back: An Analysis of the Scope and Impact of Critical Race Theory and Its Usage in
Educational Research. 13:3 Sage Open (2023).

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U.S. Department of Education, which is responsible for enforcing Title VI in schools, issued a

Fact Sheet in 2023 stating that Title VI does not categorically prohibit activities including

instruction in or training on the impact of racism or systemic racism, among other issues. 34 It is

therefore unclear what areas of CRT Section 16 is meant to cover, outside of rare circumstances

where instruction or training is creating a racially hostile environment. Does teaching AP AAS

students about the present-day effects of Jim Crow—where the U.S. enacted discriminatory

policies and tolerated racist customs that suppressed Blacks’ rights via threats and acts of

physical violence—constitute prohibited indoctrination because it could be construed as related

to CRT? What about communications and materials that allude to helping ensure teachers do not

practice racial bias, prejudice, and discrimination in the classroom?

         The statute focuses on the concept of “indoctrination”—it requires, for example, that the

Department of Education “identify items that may, purposely or otherwise, promote teaching that

would indoctrinate students with ideologies . . .” and that the Secretary of Education “amend,

annul, or alter the rules, policies, materials, or communications that are considered prohibited

indoctrination.” Ark. Code Ann. § 6-16-156(a). However, despite its repeated use of the term,

Section 16 never defines indoctrination. The statute’s use of the term makes it unclear whether it

seeks to prohibit actual indoctrination or any material that could lead to indoctrination or

something in between the lines. If educators look to the plain meaning of the term to understand

its meaning, they find that the Cambridge dictionary, for example, defines indoctrination as “the

process of repeating an idea or belief to someone until they accept it without criticism or




34
   Fact Sheet: Diversity & Inclusion Activities Under Title VI, U.S. Dep’t of Education, Office for Civil Rights
(January 2023), https://tinyurl.com/bdhcznhe.

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question.” 35 This definition, however, does not comport with Section 16’s depiction of

indoctrination.

        Moreover, Section 16 lacks a scienter requirement, allowing Defendants to go after

teachers if they “purposely or otherwise” promote the indoctrination of students. Ark. Code Ann.

§ 6-16-156(a)(2). As noted, the statute provides no definition for “CRT,” “related ideologies,” or

“indoctrination.” Yet, even if teachers unintentionally or negligently crossed the line (wherever

that is), they could be subject to sanctions and penalties. As Mr. Gilbert explains, “[i]t is hard to

understand the intent of the law, which makes it feel like the term is meant to be a catch-all.

Because the law does not provide a clear definition or scope of what constitutes indoctrination, it

feels like even teaching a subject or concept could be perceived as indoctrination.” Gilbert Dec. ¶

21.

        Arkansas educators’ confusion around what constitutes indoctrination is compounded by

the only specific definition the statute does provide for: “prohibited indoctrination.” Section 16

defines “prohibited indoctrination as “communication by a public school employee, public

school representative, or guest speaker that compels a person to adopt, affirm, or profess an idea

in violation of Title IV and Title VI of the Civil Rights Act of 1964.” Ark. Code Ann. § 6-16-

156(b). First, the use of this term suggests that there are types of indoctrination that are not

prohibited, but does not provide clarity such that persons of ordinary intelligence can distinguish

between what behavior is permitted and what is prohibited. The State appears to draw this

distinction upon ideas that do or do not violate Title IV and Title VI, including the idea that one

race is inherently superior or inferior and that individuals should be discriminated against on the

basis of their membership in a protected class. See Ark. Code Ann. § 6-16-156(b). However,


35
  See “Indoctrination,” Cambridge Dictionary, https://dictionary.cambridge.org/us/dictionary/english/indoctrination
(last accessed April 12, 2024).

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those “ideas” are potentially limitless. Is the mere discussion of such ideas violative of Title IV

or Title VI? How then is any historical subject to be taught, including boarding Native American

children and the Trail of Tears? The Holocaust? School segregation? The disproportionate

incarceration and killing of Black people?

       Moreover, the definition of “prohibited indoctrination” further confuses what the statute

means by indoctrination, given that the definition of this subsect of indoctrination is defined as a

“communication,” rather than an ongoing process, that “compels a person to adopt, affirm, or

profess an idea.” Thus, it appears that in the State’s eyes, indoctrination does not require

repetition, or require that a person to accept ideas without criticism, but simply affirming, or even

professing such ideas may constitute indoctrination. The contradiction between the plain

meaning of indoctrination, and the Act’s understanding of indoctrination, as incorporated in its

definition of prohibited indoctrination, emphasizes the vagueness of the term.

       Furthermore, Section 16 does not define “materials,” public school representative,”

“communication,” or what it means to “compel” someone to “adopt, affirm, or profess” an idea,

terms that are also undefined. This further confuses what teachers are permitted to teach or ask

students to do in the classroom. For example, if a teacher instructs a student to take and defend a

particular position that could be construed as violating Title IV or Title VI as part of a learning

exercise, have they been compelled to affirm or profess that idea?

       Critically, the conduct prohibited by Section 16 is subjective. Whether or not a student is

compelled depends on their own subjective reaction to a teacher’s communication, making it

nearly impossible for an educator to have fair notice of whether any of their communications will

violate the law. A teacher’s “communication” could potentially compel one student to adopt an

idea, while having no effect on another, or even dissuading other students from doing the same.



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Compare Coates v. City of Cincinnati, 402 U.S. 611, 614 (1971) (finding unconstitutionally

vague an ordinance criminalizing conduct “annoying to persons passing by” because “[c]onduct

that annoys some people does not annoy others”); Baggett v. Bullitt, 377 U.S. 360, 368 (1964)

(invalidating on vagueness and overbreadth grounds an oath requiring teachers to forswear an

“undefined variety” of behavior considered “subversive” to the government); see also Parents

Defending Education v. Linn Mar Community School District, 83 F.4th 658, 669 (8th Cir. 2023)

(holding that plaintiffs were likely to succeed in its claim that a school policy subjecting teachers

to potential discipline was unconstitutionally vague because “the undefined term ‘respect’ leaves

the policy open to unpredictable interpretations, and creates a substantial risk” of arbitrary

enforcement). As with these examples, liability under Section 16 depends on the subjective

reactions and interpretation of others—the persons being potentially “compelled”—and therefore

does not give the ordinary person notice of what the statute permits and prohibits.

       Teachers are at a loss trying to understand what the statute’s understanding of

indoctrination is, and what constitutes prohibited indoctrination. Mr. Gilbert, an educator of

eleven years who holds a master’s degree in human communications and teaches a class focused

on communication skills, took the time to read Section 16 multiple times in hopes of aligning his

curriculum with its requirements, but still could not decipher the meaning of the statute. Gilbert

Dec. ¶ 10. He and Ms. Walls fear that simply presenting or discussing issues related to race,

privilege, and biases will put them at risk of violating that law and subject them to penalties,

causing them to self-censor. See, e.g., id. ¶¶ 16-34; Walls Dec. ¶¶ 13-22; Jefferson Dec. ¶ 12.

The undefined terms and “uncertain meanings” in the statute have caused Mr. Gilbert, Ms.

Walls, and other educators, to “steer far wider of the unlawful zone . . . than if the boundaries




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were clearly marked,” implicating their First Amendment rights and violating their Fourteenth

Amendment rights in the process. Grayned, 408, U.S. at 109.

       Mr. Gilbert does not know where the State draws the line between what is permitted and

what is prohibited. Gilbert Dec. ¶ 27. As a debate teacher, he wonders if asking students to

research both sides of a controversial issue and adopt and defend a position that could be

perceived as violating Title IV and Title VI will run afoul of the law for asking students to

profess, affirm, or adopt ideas. Id. ¶ 19. That is the very essence of debate, where students learn

and research both sides and then take a stand in defense of one side. Id.

       Their confusion is increased by the statute’s savings clause, which states that the statute

does not prohibit the “discussion” of “[i]deas and the history of the concepts described in

subsection (b) of this section; or [p]ublic policy issues of the day and related ideas that

individuals may find unwelcome, disagreeable, or offensive.” Ark. Code Ann. § 6-16-156(c). As

Mr. Gilbert explains, the clause’s terms are undefined and contradictory, leaving the impression

that “an idea or historical fact could easily veer into a discussion subjectively perceived as ‘CRT

or related ideology.’” Gilbert Dec. ¶ 18. In other words, “we may be allowed to mention public

policy issues or current events, but we cannot use those events or issues as a launching pad to

have a more critical discussion in hopes of explaining why something happened.” Id. ¶ 27. Mr.

Gilbert believes these more critical discussions are key to preparing students to empathetically

engage in a diverse world, but he now censors them for fear of sanctions. Id. ¶ 10.

       Furthermore, these vague terms and potential enforcement are in tension with the

academic standards established by the Arkansas Department of Education. As discussed earlier,

see supra Section II-D, Section 16 threatens, and in fact impedes, teachers from fully and clearly




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applying their teaching expertise in assisting students acquire the knowledge and skills

demanded by the State under the academic standards.

         Federal district courts have found similarly worded statutes to be vague. For example,

Pernell v. Florida Board of Governors of State University System, a federal district court found

that a savings clause in the statute at issue, which permitted discussion of otherwise banned

concepts if the concepts were presented “in an objective manner without endorsement”

contributed, rather than assuaged, vagueness concerns. 641 F. Supp. 3d 1218, 1281–84 (N.D.

Fla. 2022). And in Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, the federal court partially

enjoined Trump’s Executive Order 13950, with two of the banned concepts similar to those in

Section 16, on vagueness grounds. 508 F. Supp. 3d 521, 543 (N.D. Cal. 2020).

         Second, the lack of clear standards to guide enforcement of Section 16 invariably (and

impermissibly) lends itself to arbitrary enforcement: the application of Section 16 by the ADE to

the AP AAS provides a good example. In August 2023, ADE arbitrarily revoked state approval

for the AP AAS. ADE asserted, in part, that it removed the AP AAS course code, because it was

“based on opinions or indoctrination” and may put a teacher at risk of violating Arkansas law. 36

Secretary of Education Jacob Oliva confirmed that the mere inclusion of themes such as

“intersections of identity” and “resistance and resilience” raised a red flag, causing further

review of the AP AAS. Baum Dec., Exs. 4, 7. However, ADE then allowed the course to be

taught in some manner, but without the AP designation and credit for an AP course. Moreover,

ADE did not subject any other AP course and its’ teachers and students to similar treatment,



36
   Adam Roberts, Arkansas Department of Education pulls approval for AP African American Studies course, 40 29
NEWS (August 2023) https://www.4029tv.com/article/arkansas-ap-african-american-studies/44810056 (quoting
Kimberly Mundell, ADE Director of Communications, in saying that “The AP African American Studies pilot
course is not a history course and is a pilot that is still undergoing major revisions. Arkansas law contains provisions
regarding prohibited topics. . . . Without clarity, we cannot approve a pilot that may unintentionally put a teacher at
risk of violating Arkansas law.”).

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even though many other AP courses also cover contentious historical issues such as identity and

intersectionality, and resistance to systematic oppression. 37

             2. Section 16, for no legitimate pedagogical purpose, restricts students’ access to
                information and ideas.

        Section 16 violates students’ First Amendment rights by infringing access to information

and ideas. “It is now well established that the Constitution protects the right to receive

information and ideas.” Stanley v. Georgia, 394 U.S. 557, 564 (1969). As America’s “nurseries

of democracy,” Pre-K–12 public schools must protect this “marketplace of ideas.” Mahanoy

Area Sch. Dist. v. B. L. by & through Levy, 594 U.S. 180, 190, 141 S. Ct. 2038, 2046 (2021).

Therefore, the First Amendment’s protection of the right to receive information and ideas

necessarily student and includes their right to receive information and ideas at school. See Pico,

457 U.S. at 866-68; see also Pratt v. Indep. Sch. Dist. No. 831, Forest Lake, Minn., 670 F.2d

771, 773 (8th Cir. 1982). “[J]ust as access to ideas makes it possible for citizens to generally

exercise their rights of free speech and press in a meaningful manner, such access prepares

students for active and effective participation in the pluralistic, often contentious society in

which they will soon be adult members.” Pico, 457 U.S. at 868. “At the very least, the First

Amendment precludes local authorities from imposing a ‘pall of orthodoxy’ on classroom

instruction which implicates the state in the propagation of a particular religious or ideological

viewpoint.” Pratt, 670 F.2d at 776 (quoting Keyishian v. Board of Regents, 385 U.S. 589, 603

(1967)).



37
  See College Board, AP European History Course and Exam Description, Effective Fall 2023, Theme 6: National
and European Identity (Fall 2023), https://apcentral.collegeboard.org/media/pdf/ap-european-history-course-and-
exam-description.pdf. Curiously, ADE seems to have added the AP AAS to the course catalog as an AP course for
next year, though the course is not identified as a “College Board” course. See Baum Dec., Ex. 9 (ADE Course
Catalog SY 2024-45). The fact that the ADE has, for now, determined that the course somehow does not run afoul
of Section 16 further demonstrates the vagueness of the statute and Defendants’ arbitrary enforcement of the Act.

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        While government actors enjoy discretion in fashioning school curricula, this discretion is

bound by the Constitution. To avoid violating the First Amendment, the state’s restriction on

students’ access to information must be “reasonably related to a legitimate pedagogical interest.”

Hazelwood Sch. Dist., 484 U.S. at 273. Moreover, a plaintiff still establishes a First Amendment

claim, even if the state demonstrates a legitimate interest, by demonstrating that the reasons

offered by the state in fact serve to mask other illicit motivations. See Pico, 457 U.S. at 871; 38

Illegitimate motives include restricting students’ access to information based upon “narrowly

partisan or political” interests, “racial animus,” or a desire to “deny [students] access to ideas

with which [the government actor disagree[s].” Pico, 457 U.S. at 870-72.

        The Eighth Circuit’s decision in Pratt v. Indep. Sch. Dist. No. 831, Forest Lake, Minn.,

decided just before Pico, is illustrative here. In Pratt, three students challenged their school

board’s decision to remove the Encyclopedia Brittanica Educational Corporation’s film version

of “The Lottery,” a short story in which the citizens of a small town randomly select one person

to be stoned to death each year, as well as a “trailer” film which discussed the story and its

themes, from the curriculum. 670 F.2d 771, 773 (8th Cir. 1982). The Eighth Circuit determined

that “to avoid a finding that it acted unconstitutionally, the board must establish that a substantial

and reasonable government interest exists for interfering with the students’ right to receive

information.” Id. at 777. It found that the school board was unable to do so, affirming the

district’s conclusion that school board’s purported justification, that the films “place an

exaggerated and undue emphasis on violence” was “self-serving” and that the board had “failed


38
  In Pico, a plurality of the Supreme Court recognized that school boards could not remove library books based on
“narrowly partisan or political” interests or “racial animus.” 457 U.S. at 870, 871. Although Justice Rehnquist
dissented from the judgment in Pico, he, joined by Chief Justice Burger and Justice Powell, “cheerfully concede[d]”
that such “discretion may not be exercised in a narrowly partisan or political manner” or based on “racial animus.”
Id. at 907 (internal quotation omitted). Consequently, seven members of the Supreme Court subscribed to the view
that the First Amendment forbids school officials from removing materials from school libraries to further narrowly
partisan, political, or racially discriminatory ends.

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to produce any cognizable, credible evidence as to any legitimate reason for excluding this film

(sic), other than the fact that the School Board and certain elements of the populace object to the

ideas disseminated therein.” Id. at 777–78. In reaching this decision, the Eighth Circuit

emphasized that, for the school board’s actions to be comply with the First Amendment, the

“reasons for its decision” must be “apparent to those affected.” Id. at 778. This was not the case

in Pratt:

         Here, the board, in response to citizens’ complaints that centered on their
         ideological and religious beliefs, banned the films without giving any
         reasons for its actions. Only after the district court asked for an explanation
         of the board’s action did it offer its violence rationale. Even then, the board
         failed to specify why the films were too violent or how they distorted the
         short story. This approach inevitably suggests that the Board acted not out
         of its concern about violence, but rather to express an official policy with
         respect to God and country of uncertain and indefinite content which is to
         be ignored by pupils, librarians and teachers at their peril.

Id. at 778–79 (internal quotation omitted). 39

         Other courts have likewise held that a student’s First Amendment right to receive

information and ideas is violated when government actors, motivated by political, racist, or

ideological purposes, remove materials from a curriculum. For example, a few years after Pratt

and Pico, the Eleventh Circuit likewise recognized that a school board’s actions in removing

books from the curriculum is only constitutional when it is “reasonably related to the stated

legitimate concern.” 40 Virgil v. Sch. Bd. of Columbia Cnty., Fla., 862 F.2d 1517, 1525 (11th Cir.

1989); see also Pernell v. Fla. Bd. of Governors of State Univ. Sys., 641 F. Supp. 3d 1218, 1278



39
   The Eighth Circuit also noted that the fact that the films and underlying short story remained available to teachers
and students in the library “is not decisive” because “[r]estraint on protected speech cannot be justified by the fact
that there may be other times, places or circumstances for such expression.” Pratt, 670 F.2d at 779.
40
   In Virgil, the Eleventh Circuit determined that the school board’s actions were constitutional because, in part, the
parties had stipulated that “the motivation for the Board's removal of the readings has been stipulated to be related to
the explicit sexuality and excessively vulgar language in the selections.” 862 F.2d at 1522–23. The Court noted,
however, that “[c]ourts have not hesitated to look beyond the stated reasons for school board actions” in order to
determine what the government actor’s true motivation was. Id. at 1522 n.6.

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(N.D. Fla. 2022) (recognizing a student’s First Amendment right to receive claim); Loc. 8027,

AFT-N.H., AFL-CIO v. Edelblut, 651 F. Supp. 3d 444, 454 n.5 (D.N.H. 2023) (same). More

recently, the Ninth Circuit in Arce v. Gonzales held that “the state may not remove materials

otherwise available to a local classroom unless its actions are reasonably related to legitimate

pedagogical concerns.” 793 F.3d 968, 983 (9th Cir. 2015).

       Section 16 violates students’ First Amendment rights because it requires government

actors to remove information and ideas from the previously approved Arkansas curriculum that

state disagrees with. This is clear in the text of the statute which requires “the Department of

Education to identify any items that may, purposely or otherwise, promote teaching that would

indoctrinate students with ideologies, such as Critical Race Theory” and requires the Secretary

to, among other options, “annul . . . materials, or communications that are considered prohibited

indoctrination and that conflict with the principle of equal protection under the law.” Ark. Code

Ann. § 6-16-156(a). And this language has resulted in the removal of a variety of material. For

example, in its August 2023 letter, the ADE stated that “[g]iven some of the themes in the [AP

AAS] pilot, including ‘intersections of identity’ and ‘resistance and resilience,’ the Department is

concerned the [AP AAS] pilot may not comply with Arkansas law, which does not permit

teaching that would indoctrinate students with ideologies, such as Critical Race Theory (CRT).”

In response, Mr. Gilbert removed materials from his debate course which described CRT and

highlighted similar details. Gilbert Dec. ¶ 22. Similarly, Ms. Walls has narrowed the scope of the

topics that she is teaching in an effort to comply with Section 16 which means that her students

do not get the benefit of her vast knowledge on these topics and the ways that they interrelate

with each other. Walls Dec. ¶ 13-15, 38. This is especially troubling given that the students in




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her classes took AP AAS in order to gain that deeper understanding of how past events inform

their current experiences. Reynolds Dec. ¶ 8, 11; Davis Dec. ¶ 11, 15.

        As in Pratt, the decision by the ADE to remove these materials is not motivated by

pedagogical interests. 41 In fact, these decisions run counter to the State’s pedagogical goal. The

Arkansas African-American history standards, for example, require that students learn about the

“Hardening of Jim Crow – the African American experience in the post-Reconstruction Era”

which includes “[e]xamin[ing] various perspectives toward the political rights of African

American men and women between 1820 and 1877 throughout different regions of the United

States, including discrimination and segregation, “separate but equal,” the Back-to-Africa

movement, and full equality.” Baum Declaration, Ex. 6. Moreover, the restriction of certain ideas

and information runs counter to the underlying goal of Arkansas’s African-American history

standards, which require students to “[g]ather relevant information from multiple perspectives

and a variety of sources” and “evaluate the credibility of the source by determining its relevance

and intended use.” Id. Rather, these decisions reflect the mandate of Section 16 of the LEARNs

Act to remove only the ideas that the state may deem “indoctrination.” Of course, as Pratt makes

clear, removing school curricular materials because the government “objects to the ideas

disseminated therein” violates the First Amendment because it limits Students Plaintiffs’ ability

to access this information and these ideas as part of their education. 670 F.2d at 778.

     B. Absent an Injunction, Plaintiffs Will Suffer Irreparable Harm

        “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); see




41
  Notably, the ADE has not provided any explanation for its decisions to remove online materials that were
previously available to students and teachers. Davis Dec. ¶ 17.

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also Phelps-Roper, 509 F.3d at 484. Because Plaintiffs have established they are likely to

succeed on the merits of their First Amendment claim, they have also established irreparable

harm as the result of the deprivation. See, e.g., Marcus v. Iowa Pub. Television, 97 F.3d 1137,

1140-41 (8th Cir. 1996). Additionally, the Eighth Circuit has held that the government has no

compelling interest in protecting an individual from unwanted speech outside the residential

context. Olmer v. Lincoln, 192 F.3d 1176, 1182 (8th Cir. 1999). Absent a preliminary injunction,

Plaintiffs will continue to suffer significant and irreparable harm: the violation of their

constitutional rights to due process and the right to receive information and ideas; the indignities

associated with self-censorship; and the foreclosure of an opportunity for these students to

receive AP credit and all the benefits that would accrue from it. On a daily basis, teachers across

Arkansas, including Plaintiff teachers, face the threat of sanctions for violating the vague tenets

of Section 16. Under this threat, they often over-correct, denying students access to a broad

perspective of ideas and resources that teach about the history of race, the civil rights movement,

and how those past events influence current topics and debate. 42 Because of the LEARNS Act,

Mr. Gilbert started censoring certain forms of instruction and planned end-of-year activities like

student reports and presentations involving issues like gun violence, women’s right to choose,

and the lack of health care for women of color to avoid violating Section 16. (Gilbert Dec. ¶ 31).

Ms. Walls has restricted her teaching as a way to try and comply with the law, even when doing

so might jeopardize her students’ ability to succeed on the exam. Walls Dec.




42
  The complaint mentions that access to resources from the National Education Association and Martin Luther
King, Jr. Research and Education Institute have been removed alongside a resource called Selma Online, which is a
project led by the Hutchins Center for African and African American Research at Harvard University.

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   C. The Balance of Equities Tip in Plaintiff’s Favor, and an Injunction Serves the
      Public Interest.

       The threat of harm to Plaintiffs far outweighs Defendants’ interests in enforcing Section

16. “The balance of equities ... generally favors the constitutionally-protected freedom of

expression.” Nixon, 509 F.3d at 485. Although it is presumed that Plaintiffs will suffer

irreparable harm absent an injunction, there is no harm to Defendant if an injunction issues.

Because the “State has no interest in enforcing laws that are unconstitutional…, an injunction

preventing the State from enforcing [the challenged statute] does not irreparably harm the state.”

Little Rock Family Planning Servs. V. Rutledge, 397 F. Supp. 3d. 1213, 1322 (E.D. Ark. 2019).

Further, there is no evidence that Arkansas teachers or the AP AAS course are teaching students

that one race is superior to another, through the use of CRT or any other means.

       Attempting to prevent “the political indoctrination of Arkansas’s schoolchildren” through

a series of vague, undefined terms cannot justify the harm that students and teachers continue to

experience on a daily basis in Arkansas’ classrooms.

       “It is always in the public interest to protect constitutional rights.” Nixon, 545 F.3d at

689; see also Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir. 2012) (holding that a preliminary

injunction that vindicates constitutional rights is always in the public interest (internal quotations

omitted)). Here, the public interest is served through an injunction preventing the enforcement of

an unconstitutional ordinance. Additionally, “[t]he public is served by the preservation of

constitutional rights.” D.M. by Bao Xiong v. Minnesota State High School League, 917 F.3d 994,

1004 (8th Cir. 2019). As demonstrated above, Section 16 chills and censors speech, jeopardizing

the future of the nation’s democratic institutions. Arkansas’ classrooms cannot adequately

prepare students to enter life beyond high school if important aspects of American history,

particularly but not solely Black history and the history of race in America, are censored in the


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course of instruction. For instance, Mr. Gilbert felt the need to “mute himself” every time

students weighed in on topics that could be “flagged for indoctrination” if he were to participate.

Gilbert Dec. ¶ 14. Mr. Gilbert also had to cut debate topics that would likely venture into

discussions of race and poverty. Gilbert Dec. ¶ 16. Likewise, Ms. Walls is hesitant to draw

connections between historical topics and current events, denying students the ability to see the

way that individual events connect to broader narratives. Walls Dec. ¶ 15.

         Here, vindicating First Amendment freedoms in Arkansas’ public schools and

universities will benefit students, teachers, and the public as a whole. See Mahanoy, 141 S. Ct. at

2046. The First Amendment has long been understood to promote the free exchange of ideas by

allowing people to speak in many forms and convey an array of messages, inclusive of those that

“invite dispute” and are “provocative and challenging.” Terminello v. Chicago, 337 U.S. 1, 4

(1949). As the Supreme Court has made clear, “[t]here is no room under the constitution for a

more restrictive” approach because “the alternative would lead to standardization of ideas…by

legislatures, courts, dominant political or community groups.” Id. at 4-5. As the Eighth Circuit

has previously held, “the potential harm to independent expression … is great and the public

interest favors protecting core First Amendment freedoms.” Iowa Right to Life Comm., Inc. v.

Williams, 187 F.3d 963, 970 (8th Cir. 1999).

         Enjoining Section 16 will help ensure that all students have access to the full range of

materials, instruction, and curriculum and the State is prohibited in unlawfully restricting

teachers’ and students’ First Amendment rights.

   IV.      CONCLUSION

         For the above reasons, Plaintiffs respectfully ask this Court to preliminarily enjoin

Defendants from enforcing Section 16.


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Dated: April 12, 2024                      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on April 12th, 2024, the foregoing was filed through the Court’s CM/ECF
system and will be served on all parties of record via hand-delivery on April 15, 2024:

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